
HOLMES, J.,
declared the unanimous opinion of the Court:
1. That a written notice of the imprisonment of the debtor is necessary from the Jailor to the Defendants as representatives of the creditor, &amp;c. to enable the Jailor to recover the fees for supporting the debtor of such creditor.
2. That a knowledge of the debtor’s being in Jail at the suit of the creditor, will not be sufficient to dispense with notice in writing, from the Jailor to the creditor, his agent, or Attorney. Por although the creditor thus knows of the confinement of the debtor, yet he does not know of the debtor’s inability, or unwillingness to pay his jail fees, or of the Jailor’s holding him responsible, until he receives the notice prescribed by Law.
*3. Sixty days after notice given by the Jailor in writing, must expire, before his right to move for his fees, accrues; and he cannot recover his fees which accrued prior to the notice in writing of the 20th April, 1824, against the creditor by virtue of the Act of Assembly.
